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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUST DIVISION

UNITED STATES OF AMERICA               )     CASE NO: 1:21-CR-48
                                       )
v.                                     )
                                       )
SAMMIE LEE SIAS                        )


                UNITED STATES’ PROPOSED VERDICT FORM

     Now comes the United States of America, by and through David H. Estes,

United States Attorney for the Southern District of Georgia, and the undersigned

Assistant United States Attorneys, and respectfully submits the attached proposed

Verdict Form.

                 Respectfully submitted this 7th day of July, 2022.

                                       DAVID H. ESTES
                                       UNITED STATES ATTORNEY

                                       /s/ Patricia Green Rhodes
                                       Patricia Green Rhodes
                                       Chief, Criminal Division
                                       Assistant United States Attorney
                                       Georgia Bar No. 307288
                                       P.O. Box 2017
                                       Augusta, GA 30903
                                       (706) 724-0517
                                       patricia.rhodes@usdoj.gov




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                             /s/ Tara M. Lyons
                             Tara M. Lyons
                             Deputy Chief, Criminal Division
                             Assistant United States Attorney
                             South Carolina Bar No. 16573
                             United States Attorney’s Office
                             Southern District of Georgia
                             P.O. Box 2017
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                                VERDICT FORM



 COUNT ONE – DESTRUCTION, ALTERATION, OR FALSIFICATION OF
            RECORDS IN A FEDERAL INVESTIGTION

      As to Count One of the Indictment, we, the jury, unanimously find the

Defendant, Sammie Lee Sias ____________________ (guilty/not guilty) as charged in

Count One of the Indictment.




 COUNT TWO – FALSE STATEMENT OR REPRESENTATION MADE TO A
        DEPARTMENT OR AGENCY OF THE UNITED STATES

      As to Count Two of the Indictment, we, the jury, unanimously find the

Defendant, Sammie Lee Sias ____________________ (guilty/not guilty) as charged in

Count Two of the Indictment.




_____________________________              _____________________________
DATE                                       FOREPERSON




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                            CERTIFICATE OF SERVICE


       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result

of electronic filing in this Court.

       This 7th day of July, 2022.

                                        Respectfully submitted,

                                        DAVID H. ESTES
                                        UNITED STATES ATTORNEY

                                        /s/ Tara M. Lyons
                                        Tara M. Lyons
                                        Deputy Chief, Criminal Division
                                        Assistant United States Attorney
                                        South Carolina Bar No. 16573
                                        United States Attorney’s Office
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